Case 2:03-cV-02714-.]DB-tmp Document 66 Filed 08/19/05 Page 1 of 4 Page|D 52

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LOUISE AFFLIS,
Plaintiff,

vs. No. 03-2714 BP

BAPTIST MEMORIAL HOSPITAL

d/b/a BAPTIST MEMORIAL
HOSPITAL-COLLIERVILLE ,

`d`dvvvv`dvvv`.d

Defendants.

 

ORDER GRA.NTING DEFENDANT’S EMERGENCY MOTION FOR PROTECTIV'E ORDER
QUASHING NOTICE OF EVIDENTIARY DEPOSITION

 

Before the court is defendant Baptist Memorial Hospital‘s
Emergency' Motion for Protective Order Quashing the Notice of
Evidentiary'Deposition of Karen Wolstein, D.C., filed on August 17,
2005. In the motion, defendant asks the court to quash. the
deposition notice for Dr. Karen Wolstein, which.is set for Tuesday,
August 23, 2005, in Clearwater, Florida. Dr. Wolstein is the
chiropractor who treated the plaintiff for her alleged injuries
over‘ a two year‘ period. As a result of this treatmentr the
plaintiff incurred medical expenses of_approximately $18,000. The
trial is currently set to begin on Monday, August 29, 2005. On
Tuesday, August 16, 2005, the plaintiff noticed Dr. Wolstein's

deposition to take place on August 23 in Florida. The plaintiff

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Case 2:03-cV-02714-.]DB-tmp Document 66 Filed 08/19/05 Page 2 of 4 Page|D 53

intends to take Dr. Wolstein's evidentiary deposition in order to
present proof at trial that these chiropractor bills were
reasonable. On. August 19, 2005, the court held. an expedited
hearing on the motion. Counsel for all parties were present and
heard. At the conclusion of the hearing, the court GRANTED the
motion to quash as follows:

The court entered a scheduling order in this case on December
lO, 2003. The order required that all depositions be completed by
the discovery deadline which, as amended, was May 6, 2005. The

order provided that "absent good cause shown," the deadlines in the

scheduling order would not be modified or extended. The order
clearly governs all depositions -- whether for discovery or
evidentiary purposes H- and the court finds that plaintiff has not

shown the required good cause.l

The plaintiff has known about Dr. Wolstein since the beginning
of this lawsuit. She could have and should have deposed her well
before the discovery deadline, and certainly well before the eve of
trial. Nothing prevented the plaintiff from taking Dr. Wolstein‘s
deposition earlier other than. her interest in minimizing her
litigation expenses, which does not amount to good cause. Instead,
as plaintiff stated at the August 19 hearing, her desire to depose

Dr. Wolstein stems front evidentiary objections raised by the

 

lIn any event, even if some standard less than good cause
applied, the court in its discretion nevertheless concludes that
the motion must be grantedr for the same reasons stated in this
order

Case 2:03-cV-02714-.]DB-tmp Document 66 Filed 08/19/05 Page 3 of 4 Page|D 54

defendant in its pending motions in limine. Plaintiff's intention
to cure the alleged evidentiary defects in her case also does not
amount to good cause to depose Dr. Wolstein one week before trial.

Finally, the court concludes that the defendant would be
prejudiced if the court were to allow the deposition to proceed.
Counsel for defendants are currently preparing their case,
including numerous witnesses, for trial. They also have
commitments on unrelated matters before other courts. At this
point in the litigation, the court believes it would be unfair and
prejudicial to the defendants to require counsel to appear at Dr.
Wolstein's deposition, whether in person or by telephone.

For the reasons above, Defendants' motion is GRANTED.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date

 

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This notice confirms a copy cf the document docketed as number 66 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

